Case 1:20-cv-25184-MGC Document 1-2 Entered on FLSD Docket 12/21/2020 Page 1 of 28




                             Exhibit
                                       2
Case 1:20-cv-25184-MGC Document 1-2 Entered on FLSD Docket 12/21/2020 Page 2 of 28
Case 1:20-cv-25184-MGC Document 1-2 Entered on FLSD Docket 12/21/2020 Page 3 of 28
Case 1:20-cv-25184-MGC Document 1-2 Entered on FLSD Docket 12/21/2020 Page 4 of 28
Case 1:20-cv-25184-MGC Document 1-2 Entered on FLSD Docket 12/21/2020 Page 5 of 28
Case 1:20-cv-25184-MGC Document 1-2 Entered on FLSD Docket 12/21/2020 Page 6 of 28
Case 1:20-cv-25184-MGC Document 1-2 Entered on FLSD Docket 12/21/2020 Page 7 of 28
Case 1:20-cv-25184-MGC Document 1-2 Entered on FLSD Docket 12/21/2020 Page 8 of 28
Case 1:20-cv-25184-MGC Document 1-2 Entered on FLSD Docket 12/21/2020 Page 9 of 28
Case 1:20-cv-25184-MGC Document 1-2 Entered on FLSD Docket 12/21/2020 Page 10 of 28
Case 1:20-cv-25184-MGC Document 1-2 Entered on FLSD Docket 12/21/2020 Page 11 of 28
Case 1:20-cv-25184-MGC Document 1-2 Entered on FLSD Docket 12/21/2020 Page 12 of 28
2/17/2020
    Case                          Tyler, Hillary
             1:20-cv-25184-MGC Document          Clinton's
                                               1-2         Hot Nephew,
                                                       Entered      onJustFLSD
                                                                           Scored Modeling
                                                                                  Docket   Contract - VIX
                                                                                             12/21/2020   Page 13 of 28
                     Life
                     Pop
                     Explore
  LTN
  Yum
  Hacks
  Glam
  EN
  Select language
  ES
  PT



                                                                 CHANNEL/POP

  We're Seriously Thirsty Over Hillary Clinton's Hot Model Nephew
  JESSICA ROIZ




                                                                                                                             GETTY IMAGES



                                                                         ADVERTISEMENT



                      MAGENTA TV
                      EINFACH EINS FÜR ALLES                                                              Hier informieren




  Right when we thought 2017 was a shit show, a Clinton comes to the rescue—and no, it's not our girl Hillary.

https://www.vix.com/en/pop-culture/527955/were-seriously-thirsty-over-hillary-clintons-hot-model-nephew                                 1/16
2/17/2020
    Case                          Tyler, Hillary
             1:20-cv-25184-MGC Document          Clinton's
                                               1-2         Hot Nephew,
                                                       Entered      onJustFLSD
                                                                           Scored Modeling
                                                                                  Docket   Contract - VIX
                                                                                             12/21/2020   Page 14 of 28
                LifeClinton, Bill's and Hillary's extremely hot nephew, who just scored a modeling contract with IMG
  World, meet Tyler
                Pop
  models.
                Explore
  LTN
                                                                         ADVERTISEMENT
  Yum
  Hacks               JETZT MAGENTA ZUHAUSE
  Glam                ERLEBEN UND SPAREN                                                                  Verfügbarkeit prüfen

  EN
  Select language
  ES
  PT




https://www.vix.com/en/pop-culture/527955/were-seriously-thirsty-over-hillary-clintons-hot-model-nephew                          2/16
2/17/2020
    Case                          Tyler, Hillary
             1:20-cv-25184-MGC Document          Clinton's
                                               1-2         Hot Nephew,
                                                       Entered      onJustFLSD
                                                                           Scored Modeling
                                                                                  Docket   Contract - VIX
                                                                                             12/21/2020   Page 15 of 28
  clint              Life
  2k followers       Pop
                     Explore
  LTN
  Yum
  Hacks
  Glam
  EN
  Select language
  ES
  PT




  Is it safe to say it now? NEW BAE ALERT!


  Tyler is a 22-year-old heartthrob, son of Bill's half brother, Roger.
https://www.vix.com/en/pop-culture/527955/were-seriously-thirsty-over-hillary-clintons-hot-model-nephew               3/16
2/17/2020
    Case                          Tyler, Hillary
             1:20-cv-25184-MGC Document          Clinton's
                                               1-2         Hot Nephew,
                                                       Entered      onJustFLSD
                                                                           Scored Modeling
                                                                                  Docket   Contract - VIX
                                                                                             12/21/2020   Page 16 of 28
  clint              Life
 Chappaqua, New YorkPop
                     Explore
  LTN
  Yum
  Hacks
  Glam
  EN
  Select language
  ES
  PT




                                                                          ADVERTISEMENT


                                               Kostenloses Depot
                                               Wertpapiersparpläne ab 25 €
                                               24 Stunden / 7 Tage für Sie da      Depot eröffnen




  Brains and beauty? Check! He recently graduated from Loyola Marymount
  University.


https://www.vix.com/en/pop-culture/527955/were-seriously-thirsty-over-hillary-clintons-hot-model-nephew               4/16
2/17/2020
    Case                          Tyler, Hillary
             1:20-cv-25184-MGC Document          Clinton's
                                               1-2         Hot Nephew,
                                                       Entered      onJustFLSD
                                                                           Scored Modeling
                                                                                  Docket   Contract - VIX
                                                                                             12/21/2020   Page 17 of 28
  clint              Life
  2k followers       Pop
                     Explore
  LTN
  Yum
  Hacks
  Glam
  EN
  Select language
  ES
  PT




  Seemingly, he's been modeling since like, forever ago.

  Content temporarily unavailable: https://www.instagram.com/p/U5BzPaJShk/?taken-by=tclint

https://www.vix.com/en/pop-culture/527955/were-seriously-thirsty-over-hillary-clintons-hot-model-nephew               5/16
2/17/2020
    Case                          Tyler, Hillary
             1:20-cv-25184-MGC Document          Clinton's
                                               1-2         Hot Nephew,
                                                       Entered      onJustFLSD
                                                                           Scored Modeling
                                                                                  Docket   Contract - VIX
                                                                                             12/21/2020   Page 18 of 28
  And nallyLifejoined the IMG Models squad.
           Pop
  clint
 Brooklyn, New York   Explore
  LTN
  Yum
  Hacks
  Glam
  EN
  Select language
  ES
  PT




                                                                         ADVERTISEMENT




https://www.vix.com/en/pop-culture/527955/were-seriously-thirsty-over-hillary-clintons-hot-model-nephew               6/16
2/17/2020
    Case                          Tyler, Hillary
             1:20-cv-25184-MGC Document          Clinton's
                                               1-2         Hot Nephew,
                                                       Entered      onJustFLSD
                                                                           Scored Modeling
                                                                                  Docket   Contract - VIX
                                                                                             12/21/2020   Page 19 of 28
                     Life   1 & 2 BEDROOM
                                                                                                          M OV E I N S P R I N G 2 0 2 0 !

                     Pop     CONDOS FROM
                     Explore T H E M I D $ 3 0 0 s                                                             L E A R N   M O R E

  LTN
  Yum
  That's
  Hacks  the same agency that signed the Hadid sisters, Bella and Gigi.
  Glam
  EN
  Select language
  ES
  PT




https://www.vix.com/en/pop-culture/527955/were-seriously-thirsty-over-hillary-clintons-hot-model-nephew                                      7/16
2/17/2020
    Case                          Tyler, Hillary
             1:20-cv-25184-MGC Document          Clinton's
                                               1-2         Hot Nephew,
                                                       Entered      onJustFLSD
                                                                           Scored Modeling
                                                                                  Docket   Contract - VIX
                                                                                             12/21/2020   Page 20 of 28
  clint               Life
 New York, New York   Pop
                      Explore
  LTN
  Yum
  Hacks
  Glam
  EN
  Select language
  ES
  PT




  He's excited and looking forward to more modeling gigs with the agency.


https://www.vix.com/en/pop-culture/527955/were-seriously-thirsty-over-hillary-clintons-hot-model-nephew               8/16
2/17/2020
    Case                          Tyler, Hillary
             1:20-cv-25184-MGC Document          Clinton's
                                               1-2         Hot Nephew,
                                                       Entered      onJustFLSD
                                                                           Scored Modeling
                                                                                  Docket   Contract - VIX
                                                                                             12/21/2020   Page 21 of 28
  clint              Life
 Lower East Side     Pop
                     Explore
  LTN
  Yum
  Hacks
  Glam
  EN
  Select language
  ES
  PT




                                                                         ADVERTISEMENT




https://www.vix.com/en/pop-culture/527955/were-seriously-thirsty-over-hillary-clintons-hot-model-nephew               9/16
2/17/2020
    Case                          Tyler, Hillary
             1:20-cv-25184-MGC Document          Clinton's
                                               1-2         Hot Nephew,
                                                       Entered      onJustFLSD
                                                                           Scored Modeling
                                                                                  Docket   Contract - VIX
                                                                                             12/21/2020   Page 22 of 28
                      Life
                      Pop
                      Explore
  LTN
  Yum
  Here's
  Hacks  another hot one before we go.
  Glam
  clint
 Clinton
  EN Hill, Brooklyn
  Select language
  ES
  PT




  You Might Also Like


  The Internet Is Not Forgiving Of Melania Trump's Of cial White House Photo


  6 Things We Know About Adriana Lima's New Man



                                                                                                         




https://www.vix.com/en/pop-culture/527955/were-seriously-thirsty-over-hillary-clintons-hot-model-nephew              10/16
2/17/2020
    Case                             Tyler, Hillary
                1:20-cv-25184-MGC Document          Clinton's
                                                  1-2         Hot Nephew,
                                                          Entered      onJustFLSD
                                                                              Scored Modeling
                                                                                     Docket   Contract - VIX
                                                                                                12/21/2020   Page 23 of 28
       Chancengeber
                Life - das sind Sie als Pate
                              Pop
       Plan International | Sponsored

                  Explore
  LTNErstklassige Absicherung bei Berufsunfähigkeit? Gibt’s hier bei EUROPA
       EUROPA Versicherungen | Sponsored
  Yum
  Hacks
     1 Fehler, den fast jeder Mac-Benutzer täglich begeht
  Glam
       MacKeeper | Sponsored
  EN
  Select language
  ES
       3+1 GB LTE für nur 9,99€ monatlich*
  PT Blau | Sponsored




       Österreich: Aktiv- & Wanderurlaub pro Familie ab 528 €
       austria.info | Sponsored




       Natürlich wie nie. Diese Uhren aus Holz und Stein verdrehen im Moment jedem den Kopf.
       Holzkern | Sponsored




       Spiel dieses Game für 1 Min und sieh warum jeder verrückt danach ist
       Planet Capture | Sponsored




       If Someone Is Lying To You, They'll Surely Use One Of These 5 Phrases
       VIX




       How Many People Have Died On Earth?
       VIX




       Tausende Deutsche stürzen sich auf die Armbanduhren dieses Schweizer Start-Ups
       Armbanduhren CODE41 | Sponsored




       So sichern Sie Ihren gesamten Computer mit einem Klick
       InﬁnitiKloud | Sponsored




       Handgefertigt in der Schweiz: 24 Stunden und nur ein Zeiger. Die Slow Uhr hilft dir, im Moment zu leben.
       slow-watches.com | Sponsored




       If He Does These 10 Things It's Because He's Crazy About You
       VIX




       11 Romantic Texts That'll Make Any Man Fall For You
       VIX




https://www.vix.com/en/pop-culture/527955/were-seriously-thirsty-over-hillary-clintons-hot-model-nephew                 11/16
2/17/2020
    Case                             Tyler, Hillary
                1:20-cv-25184-MGC Document          Clinton's
                                                  1-2         Hot Nephew,
                                                          Entered      onJustFLSD
                                                                              Scored Modeling
                                                                                     Docket   Contract - VIX
                                                                                                12/21/2020   Page 24 of 28
       Zurück auf Wolke
                  Life sieben - Romantische Ideen für die Zeit zu zweit
       Tchibo | Sponsored
                              Pop
       Die Kapitalmärkte
                   Explorein 2020 - unsere Einschätzung lesen.
  LTNDeutsche Bank | Sponsored
  Yum
  Hacks
     Ein Brief, der deutsche Sammlerherzen höher schlagen lässt
  Glam
       borek.de | Sponsored
  EN
  Select language
  ES
       The Psychology Behind Why Not All Who Wander Are Lost
  PT
       VIX




       7 Herbs and Flowers That Can Do Wonders For Your Period
       VIX




       Auto Abo: Nur noch Tanken - alles andere ist inklusive.
       Volvo | Sponsored




       Neue Webseite ﬁndet sekundenschnell die günstigsten Flüge
       Jetcost | Sponsored




       Haftpﬂichtversicherung | Test & Vergleich 2020
       Haftpﬂichtversicherung | Sponsored




       What Does It Really Mean To Be Loyal In A Relationship? These 6 Actions Explain It
       VIX




       5 Thoughts A Man Has After He's Caught Cheating
       VIX




       Wie Ihnen diese Waschkugel helfen wird, Geld zu sparen
       WashZilla | Sponsored




       Günstige Hotels suchen - Hotels in Sekunden vergleichen
       momondo | Sponsored




       Handyvertrag so günstig, es ist kaum zu glauben
       Handy | Gesponserte Links | Sponsored




       Who Is Stronger? This Is The Strength Scale Marvel Uses For Its Heroes And Villains
       VIX




https://www.vix.com/en/pop-culture/527955/were-seriously-thirsty-over-hillary-clintons-hot-model-nephew                 12/16
2/17/2020
    Case                             Tyler, Hillary
                1:20-cv-25184-MGC Document          Clinton's
                                                  1-2         Hot Nephew,
                                                          Entered      onJustFLSD
                                                                              Scored Modeling
                                                                                     Docket   Contract - VIX
                                                                                                12/21/2020   Page 25 of 28
       This Is WhatLife
                    Babies Feel In The Womb When Their Mom Cries
       VIX
                           Pop
                           Explore
  LTN
    Billige Flüge auf KAYAK - Buche jetzt und spare dabei
  Yum
       Kayak.com | Sponsored
  Hacks
  Glam
     Single-Mädchen sind auf der Suche nach Single-Männern in Berlin
  ENtop5dating-seiten.de | Sponsored
  Select language
  ES
  PT Gartentrampoline mit TÜV Siegel vom Spezialisten
       Ampel 24 | Sponsored




       8 Shocking Things You Didn't Know Are Happening In The World Right Now
       VIX




       7 Signs Of A Man That's In Love
       VIX




       Stratege & Stratege: Der Finanzpodcast von Flossbach von Storch
       Flossbach von Storch | Sponsored




       40-Jähriger hat in 14 Tagen Englisch gelernt. Ohne Anstrengung.
       Fast Phrases | Sponsored




       Zahnzusatzversicherung: Die besten Tarife
       Zahnversicherungen | Gesponserte Links | Sponsored




       5 Things That Should Not Be Happening In A Healthy Relationship
       VIX




       This Trump Family Portrait Will Make You Ponder
       VIX




       Dieses Gerät entspannt Ihre Nackenmuskeln
       Geeks Reviews | Sponsored




       Ab dem 17.02. bei Lidl: Küchenhelfer - In tollen Farben. Jetzt informieren.
       LIDL | Sponsored




       Secret Escapes: Bis zu 400 Traumangebote
       Secret Escapes | Sponsored




https://www.vix.com/en/pop-culture/527955/were-seriously-thirsty-over-hillary-clintons-hot-model-nephew                 13/16
2/17/2020
    Case                             Tyler, Hillary
                1:20-cv-25184-MGC Document          Clinton's
                                                  1-2         Hot Nephew,
                                                          Entered      onJustFLSD
                                                                              Scored Modeling
                                                                                     Docket   Contract - VIX
                                                                                                12/21/2020   Page 26 of 28
       The 4 Best Juices
                   Life To Drink While On Your Period
       VIX
                              Pop
                              Explore
  LTN
    Meet Rombai: 8 Interesting Facts Of The Latin Band That Everyone Is Talking About
  Yum
    VIX
  Hacks
  Glam
  EN
  Select   language
     3D-Möbel-Konﬁgurator: Gestalte Selbst Dein Möbel
  ES form.bar | Sponsored


  PT
       Paar schließt Wette ab: Keine Restaurants, kein Fast Food, kein Alkohol. So sehen sie ein Jahr später aus
       Verrückte Welt | Sponsored




       Falls Ihre im Haus gehaltene Katze erbricht (dann machen Sie dies täglich)
       TiereHelfen.com | Sponsored




       Jay Hernandez Talks About His Role In "Toy Story 4" [EXCLUSIVE INTERVIEW]
       VIX




       You Won't Believe The Reason Why Shakira Was Afraid To Make Her Music Comeback
       VIX




       8 Flaschen Top-Rotwein: Nur jetzt für nur 39,90 €
       ebrosia | Sponsored




       Treppenlift-Kosten für Senioren auf Rekordtief - So zahlen Sie fast nichts
       treppenlift-hauslift.de | Sponsored




       22 kg leichter - Elisa verrät, wie sie es geschafft hat
       foodspring® | Sponsored




       5 Websites And Apps That Make It Easy To Support Black-Owned Businesses
       VIX




       We Bet You Never Noticed These Mistakes In 'The Wedding Singer'—Even 20 Years Later
       VIX




       Abnehm-Industrie geschockt. Ernährungsberater verschenkt seinen Abnehm-Bestseller
       Jasper Caven | Sponsored




       Sale bei Adidas bis zu 50%
       Stylight | Sponsored




https://www.vix.com/en/pop-culture/527955/were-seriously-thirsty-over-hillary-clintons-hot-model-nephew                 14/16
2/17/2020
    Case                             Tyler, Hillary
                1:20-cv-25184-MGC Document          Clinton's
                                                  1-2         Hot Nephew,
                                                          Entered      onJustFLSD
                                                                              Scored Modeling
                                                                                     Docket   Contract - VIX
                                                                                                12/21/2020   Page 27 of 28
       Berlin: 3+ Fahrzeuge?
                  Life       Diese Tracker erobern Deutschland im Sturm
                              Pop
       Expertmarket | Sponsored

                              Explore
  LTN
    Here's Why Your One Mistake Can Lead To Another
  Yum
       VIX
  Hacks
  Glam
  EN
     Here's What The 'Gilmore Girls' Cast Has Been Up To Since The Show Wrapped
  Select
     VIX
         language
  ES
  PT


       Sind Sie auf der Suche nach einem Mittel gegen Nacken- und Rückenschmerzen?
       Neck Relax | Sponsored




       Jobs im Einzelhandel, mit Gehaltsangabe.
       Gehalt.de | Sponsored




       TV-Sendung testet Strom-Wechselassistenten. Stromanbieter automatisch mit remind.me wechseln
       remind.me | Sponsored




       These 11 Signs Tell The World That You Have A Strong Personality
       VIX




       5 Podcasts To Listen To On Your Morning Commute For The Best Daily Motivation
       VIX




       Finde jetzt einen Partner aus Berlin
       DatingTestsieger.de | Sponsored




       The largest search engine for furnished apartments
       Nestpick | Sponsored




       Genial: So zahlen Sie fast nichts für Ihre neuen Fenster
       Fenster Angebote | Sponsored




       You Won't Believe That Shakira Dated This Telenovela Actor 20 Years Ago
       VIX




       10 Great Movie Musicals You Can Stream Right Now
       VIX




https://www.vix.com/en/pop-culture/527955/were-seriously-thirsty-over-hillary-clintons-hot-model-nephew                 15/16
2/17/2020
    Case                          Tyler, Hillary
             1:20-cv-25184-MGC Document          Clinton's
                                               1-2         Hot Nephew,
                                                       Entered      onJustFLSD
                                                                           Scored Modeling
                                                                                  Docket   Contract - VIX
                                                                                             12/21/2020   Page 28 of 28
                     Life
                                           LIFE     POP       EXPLORE          LTN      YUM       HACKS        GLAM
                     Pop
                     Explore
  LTN                                               VIX™ - ©VIX Inc – 2005-. Privacy Policy Terms of use Contact

  Yum
  Hacks
  Glam
  EN
  Select language
  ES
  PT




https://www.vix.com/en/pop-culture/527955/were-seriously-thirsty-over-hillary-clintons-hot-model-nephew               16/16
